    Case 3:18-cr-30164-SMY Document 1 Filed 10/16/18 Page 1 of 3 Page ID #1
                                                                                           FILED
                                                                                           OCT 1 6 2018
                         IN THE UNITED STATES DISTRICT COURT                        CLERK, U.S. DISTRICT COURT
                                                                                  SOUTHERN DISTRICT OF ILLINOIS
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS                         EAST ST. LOUIS OFFICE

UNITED STATES OF AMERICA,                        )

               Plaintiff,                        ~   CRIMINALNO.         16-30/fA-Sm)'
       vs.                                       ) Title 18, United States Code Sections
                                                 ) 2251(a) and (e) and 2253
                                                 )
TYLER S. SEIBOLD,                                )
                                                 )
       Defendant.                                )

                                         INDICTMENT

THE GRAND JURY CHARGES:
                                    COUNT 1
                        PRODUCTION OF CHILD PORNOGRAPHY

       On or about June 17, 2017, within the Southern District of Illinois,


                                     TYLER S. SEIBOLD,
defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce a minor, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, that being a digital photograph

depicting the lascivious display of her genitals, and the visual depiction had been produced using

materials that had been mailed, shipped, or transported in and affecting interstate and foreign

commerce by any means, including by computer, and that such visual depiction has actually been

transported or transmitted using any means or facility of interstate or foreign commerce or in or

affecting interstate of foreign commerce, all in violation of Title 18, United States Code, Section

2251(a) and (e).




                                                 1
   Case 3:18-cr-30164-SMY Document 1 Filed 10/16/18 Page 2 of 3 Page ID #2



                                     COUNT2
                         PRODUCTION OF CHILD PORNOGRAPHY

        On or about September 2, 2017, within the Southern District of Illinois and elsewhere,


                                        TYLER S. SEIBOLD,
defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce a minor

female to engage in sexually explicit conduct for the purpose of producing a visual depiction of

such conduct and attempted to do so, that being a digital photograph depicting the lascivious

display of her genitals, such visual depiction having been transported from outside the State of

Illinois into the State of Illinois, specifically the Southern District of Illinois, all in violation of

Title 18, United States Code, Section 2251(a) and (e).


                                  FORFEITURE ALLEGATION
        Upon conviction for the offenses charged defendant, TYLER SEIBOLD, shall forfeit to

the United States, pursuant to Title 18, United States Code, Section 2253, any and all material

that contained any images of child pornography and any and all property used and intended to be

used in any manner or part to commit and to promote the commission of the aforementioned

offenses.

        The property that is subject to forfeiture referred to above includes, but is not limited to,

the following items all seized from the presence of Tyler Seibold:


        1)  A black Samsung Galaxy 8 branded mobile phone, Serial Number R38J90FLJEA;
        2)  A Samsung Galaxy 3 J320a branded mobile phone, Serial Number
            R28HB2962WZ;
        3)  A Samsung J320a branded mobile device, Serial Number R28HB2962WZ;
        4)  Hewlett Packard Laptop, Serial Number CND428F18 ;
        5)  16 gigabyte PNY external flash drive;
        6)  32 gigabyte PNY flash drive;
        7)  Asus brand laptop, Model Number GL502V, Serial Number
        GCNOCV16N69451D.



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   Case 3:18-cr-30164-SMY Document 1 Filed 10/16/18 Page 3 of 3 Page ID #3




                                          A TRUE BILL




~RR.HOELL
 Assi~mey

 STEVEN D. WEINHOEFT
 United States Attorney

 Recommended Bond: Detention




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